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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                               Eastern Division

Bennie Starks
                                   Plaintiff,
v.                                                      Case No.: 1:09−cv−00348
                                                        Honorable Gary Feinerman
City Of Waukegan, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 15, 2014:


        MINUTE entry before the Honorable Gary Feinerman:The court's 11/1/2013 order
[189] stated that if Defendants wished to signify their continued opposition to Plaintiff's
motion to appoint special representative [165], they needed to file a surreply brief by
11/15/2013 to address Relf v. Statayeva, 998 N.E.2d 18 (Ill. 2013). The order further
stated that "[i]f Defendants do not file a surreply by 11/15/2013, they will be deemed to
have withdrawn their opposition to the motion."; Defendants later sought [191] and
received [193] and extension to 12/3/2013 to file a surreply brief. No surreply brief was
filed. Accordingly, Plaintiff's motion to appoint special representative [165] is granted,
which in any event is the substantively correct disposition in light of Relf. By 1/29/2014,
Defendant City of Waukegan shall file a notice identify a Special Representative for
deceased Defendant Miguel Juarez; upon that filing, the court will order the Special
Representative substituted for Defendant Juarez.Mailed notice.(jlj)




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